




Dismissed and Memorandum Opinion filed February 15, 2007








&nbsp;

Dismissed
and Memorandum Opinion filed February 15, 2007.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00039-CR

____________

&nbsp;

JERRY CALLEJO,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from County Criminal
Court at Law No. 1

Harris County, Texas

Trial Court Cause No.
1363684

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not delivered
an opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

&nbsp;








Judgment rendered and Memorandum
Opinion filed February 15, 2007.

Panel consists of Justices Frost,
Seymore, and Guzman.

Do not publish C Tex.
R. App. P. 47.2(b).





